     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 1 of 35 Page ID #:509



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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                 WESTERN DIVISION
11

12    MOSAFER INC.; MOSAFER E-               CASE NO.: 2:21-cv-06320-MCS-JC
      COM, INC.; AND GOMOSAFER
13
                                             DEFENDANT GEORGE NADER’S
                          Plaintiffs,
14                                           NOTICE OF MOTION TO STRIKE
                   v.                        (CAL. CODE OF CIV. PROC. § 425.16)
15
                                             OR, ALTERNATIVELY, TO DISMISS
      ELLIOT BROIDY; GEORGE
16    NADER; BROIDY CAPITAL                  COMPLAINT (FRCP 12(b)(1) AND
      MANAGEMENT, LLC;                       12(b)(6)); MEMORDANDUM OF
17    CIRCINUS, LLC; THE IRON                POINTS AND AUTHORITIES IN
      GROUP INC. D/B/A/
18    IRONISTIC.COM; SCL SOCIAL              SUPPORT
      LIMITED; PROJECT
19    ASSOCIATES UK LTD;
      MATTHEW ATKINSON; AND                  Date:     December 6, 2021
20    JOHN DOES 1-100,                       Time:     9:00 a.m.
21                       Defendants.         Crtrm.:   7C
                                             Before:   Hon. Mark C. Scarsi
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       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 2 of 35 Page ID #:510



 1    TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
 2    RECORD:
 3          PLEASE TAKE NOTICE that on December 6, 2021 at 9:00 a.m., before
 4    the Honorable Mark C. Scarsi of the United States District Court for the Central
 5    District of California, Courtroom 7C, 350 W. 1st Street, Los Angeles, California,
 6    90012, Defendant George Nader (“Nader”) will, and hereby does, move this Court
 7    for an Order striking all claims against Nader pursuant to California Code of Civil
 8    Procedure § 425.16, or, in the alternative, dismissing this action pursuant to
 9    Federal Rule of Civil Procedure 12(b)(1) and (6) with prejudice, without leave to
10    amend.
11          Nader’s Motion is based upon this Notice of Motion, the Memorandum of
12    Points and Authorities in support thereof filed concurrently herewith, the
13    pleadings, records, and papers on file in this action, oral argument of counsel, and
14    on such further evidence as may properly come before the Court at the hearing on
15    the Motion, including matters of which the Court may take judicial notice.
16          This Notice is given following the conference of counsel pursuant to Local
17    Rule 7-3, which took place on October 29, 2021.
18
19    Dated: November 1, 2021                ANTONI ALBUS, LLP
20                                     By:    /s/ John Antoni
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       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 3 of 35 Page ID #:511



 1                                             TABLE OF CONTENTS
 2                                                                                                                             Page
 3    INTRODUCTION .....................................................................................................1
 4    BACKGROUND .......................................................................................................2
 5    ARGUMENT .............................................................................................................4
 6             I.       Plaintiffs Have Not Sufficiently Pled A Civil Conspiracy. ..................4
 7             II.      The Court Should Strike The Complaint Under California’s Anti-
                        SLAPP Statute. ......................................................................................6
 8
                        A.       Plaintiffs’ Claims Arise From Acts In Furtherance Of
 9                               Defendants’ Constitutional Right To Free Speech. ....................... 7
10                      B.       Plaintiffs Cannot Satisfy Their Burden Of Establishing A
                                 Reasonable Probability Of Prevailing On Their Claims. ............. 9
11
                                 1.       GoMosafer lacks the capacity to sue................................... 10
12
                                 2.       The claims against Nader are time-barred. ........................ 10
13
                                 3.       Plaintiffs have not adequately pled—and cannot
14                                        establish—that Defendants knowingly made false
                                          statements about Qatar............................................................ 11
15
                                 4.       The alleged statements about Qatar are not
16                                        commercial speech. ................................................................. 15
17                                        a)        The statements do not present a close question.... 15
18                                        b)        The statements are not commercial under the
                                                    Bolger factors. ............................................................... 16
19
                                          c)        At a minimum, the speech is “inextricably
20                                                  intertwined.” .................................................................. 17
21                               5.       Plaintiffs Have Failed To State A Claim Under The
                                          Lanham Act. .............................................................................. 18
22
                                 6.       Plaintiffs Have Failed To State A Claim For Trade
23                                        Libel. 19
24                               7.       Plaintiffs Fail To State A Claim For Negligence. ............ 20
25             III.     In The Alternative, Plaintiffs’ Complaint Should Be Dismissed
                        Because It Fails To State A Claim Against Nader. .............................21
26
               IV.      Plaintiffs Cannot Obtain Injunctive Relief. .........................................22
27
                        A.       Plaintiffs Do Not Have Standing To Seek Injunctive Relief. ... 22
28
                                                                   i
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 4 of 35 Page ID #:512



 1                      B.       Plaintiffs Cannot Support Their Request For A Permanent
                                 Injunction. 23
 2
      CONCLUSION ........................................................................................................25
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                                                               ii
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 5 of 35 Page ID #:513



 1                                         TABLE OF AUTHORITIES
 2                                                                                                            Page(s)
 3    CASES
 4    Acculmage Diagnostics Corp. v. Terarecon, Inc.,
         260 F. Supp. 2d 941 (N.D. Cal. 2003) ..................................................................5
 5
      Agency Y LLC v. DFO Glob. Performance Com Ltd.,
 6      No. CV 20-1716 JVS, 2021 WL 2791616 (C.D. Cal. Apr. 22, 2021) ...............18
 7    Am. Passage Media Corp. v. Cass Commc’ns., Inc.,
        750 F.2d 1470 (9th Cir. 1985) ............................................................................24
 8
      AREI II Cases,
 9      157 Cal. Rptr. 3d 368 (May 29, 2013) ..................................................................4
10    Ariix, LLC v. NutriSearch Corp.,
         985 F.3d 1107 (9th Cir. 2021) ......................................................... 15, 16, 17, 19
11
      Ascon Properties, Inc. v. Mobil Oil Co.,
12       866 F.2d 1149 (9th Cir. 1989) ............................................................................22
13    Attorney General of U.S. v. The Irish People, Inc.,
         612 F. Supp. 647 (D.D.C. 1985) ...........................................................................9
14
      Bank of Lake Tahoe v. Bank of Am.,
15      318 F.3d 914 (9th Cir. 2003) ..............................................................................22
16    Bolger v. Youngs Drug Prods. Corp.,
         463 U.S. 60 (1983) ................................................................................. 15, 16, 17
17
      Clapper v. Amnesty Int’l USA,
18       568 U.S. 398 (2013) ..................................................................................... 22, 23
19    Coleman v. Medtronic, Inc.,
        167 Cal. Rptr. 3d 300, 315, as modified (Feb. 3, 2014) .....................................20
20
      Comm. for a Free Namibia v. S. W. Afr. People’s Org.,
21      554 F. Supp. 722 (D.D.C. 1982) .........................................................................20
22    Craigslist Inc. v. 3Taps Inc.,
         942 F. Supp. 2d 962 (N.D. Cal. 2013) ..................................................................5
23
      Davidson v. Kimberly-Clark Corp.,
24      889 F.3d 956 (9th Cir. 2018) ..............................................................................22
25    Dex Media W., Inc. v. City of Seattle,
        696 F.3d 952 (9th Cir. 2012) ..............................................................................15
26
      Doe v. Gangland Prods., Inc.,
27      730 F.3d 946 (9th Cir. 2013) ................................................................................9
28
                                                              iii
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 6 of 35 Page ID #:514



 1    Films of Distinction, Inc. v. Allegro Film Prods., Inc.,
         12 F. Supp. 2d 1068 (C.D. Cal. 1998) ................................................................12
 2
      Flatley v. Mauro,
 3       139 P.3d 2 (2006)..................................................................................................9
 4    Future Ads LLC v. Gillman,
         No. CV 13-905 DOC, 2013 WL 12306479 (C.D. Cal. Dec. 23, 2013) .............21
 5
      GIA-GMI, LLC v. Michener,
 6      No. C06-7949 SBA, 2007 WL 2070280 (N.D. Cal. July 16, 2007) ..................14
 7    Gianni Versace, S.p.A. v. Dardashti,
         No. CV 07-8204 ODW (EX), 2008 WL 11338729 (C.D. Cal.
 8       Apr. 21, 2008) .....................................................................................................11
 9    Haig v. Agee,
        453 U.S. 280 (1981) ............................................................................................20
10
      Hameed-Bolden v. Forever 21 Retail, Inc.,
11      No. CV-1803019, 2018 WL 6802818 (C.D. Cal. Oct. 1, 2018).........................20
12    Hanna v. Walmart Inc.,
        5:20-cv-01075-MCS-SHK, 2020 WL 7345680 (C.D. Cal. Nov. 4, 2020) ........24
13
      Harmoni Int’l Spice, Inc. v. Bai,
14      No. CV-16-00614-BRO, 2016 WL 6542731 (C.D. Cal. May 24, 2016) .............9
15    Herring Networks, Inc. v. Maddow,
        8 F.4th 1148, 2021 WL 3627126 (9th Cir. Aug. 17, 2021) ..................................7
16
      Hoffman v. Capital Cities/ABC, Inc.,
17      255 F.3d 1180 (9th Cir. 2001) ............................................................................15
18    Homeland Housewares, LLC v. Euro-Pro Operating LLC,
        No. CV 14-3954 DDP, 2014 WL 6892141 (C.D. Cal. Nov. 5, 2014) ...............19
19
      Hyundai Motor Am., Inc. v. Yahala Trading Co.,
20      No. CV 19-1413 JVS, 2020 WL 2770196 (C.D. Cal. Apr. 1, 2020) .................25
21    IMDb.com Inc. v. Becerra,
        962 F.3d 1111 (9th Cir. 2020) ............................................................................15
22
      In re GlenFed, Inc. Sec. Litig.,
23        42 F.3d 1541 (9th Cir. 1994) ..............................................................................13
24    In re Outlaw Lab’y, LLP,
          463 F. Supp. 3d 1068 (S.D. Cal. 2020)...............................................................14
25
      Intri-Plex Techs., Inc. v. Crest Grp., Inc.,
26       499 F.3d 1048 (9th Cir. 2007) ............................................................................21
27    Jarrow Formulas, Inc. v. Nutrition Now, Inc.,
         304 F.3d 829 (9th Cir. 2002) ..............................................................................10
28
                                                                 iv
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 7 of 35 Page ID #:515



 1    Katzkin Leather, Inc. v. Nissan N. Am., Inc.,
        No. CV 05-971, 2005 WL 3593999 (C.D. Cal. Dec. 22, 2005) .........................17
 2
      Lathan v. Vermillion,
 3       118 F. App’x 163 (9th Cir. 2004) .......................................................................11
 4    Lauren Moshi, LLC v. Fuentes,
        No. CV 18-6725 DMG, 2020 WL 2303081 (C.D. Cal. Jan. 17, 2020)..............15
 5
      Lockary v. Kayfetz,
 6       587 F. Supp. 631 (N.D. Cal. 1984) .......................................................................4
 7    Lujan v. Defs. of Wildlife,
         504 U.S. 555 (1992) ............................................................................................22
 8
      Mahnke v. Bayer Corp.,
 9      No. 2:19-CV-7271 RGK, 2019 WL 8621437 (C.D. Cal. Dec. 10, 2019) ..........12
10    Maloney v. T3Media, Inc.,
        853 F.3d 1004 (9th Cir. 2017) ..............................................................................7
11
      Manzari v. Associated Newspapers Ltd.,
12      830 F.3d 881 (9th Cir. 2016) ................................................................................7
13    Mattel, Inc. v. MCA Recs., Inc.,
        296 F.3d 894 (9th Cir. 2002) ..............................................................................18
14
      Meese v. Keene,
15      481 U.S. 465 (1987) ................................................................................. 9, 20, 21
16    MGIC Indem. Corp. v. Weisman,
        803 F.2d 500 (9th Cir. 1986) ..............................................................................14
17
      Mindys Cosms., Inc. v. Dakar,
18      611 F.3d 590 (9th Cir. 2010) ................................................................................7
19    Monsanto Co. v. Geertson Seed Farms,
        561 U.S. 139 (2010). ...........................................................................................23
20
      Munns v. Kerry,
21      782 F.3d 402 (9th Cir. 2015) ..............................................................................23
22    Nygard, Inc. v. Uusi-Kerttula,
        159 Cal. App. 4th 1027 (2008) .............................................................................8
23
      PerkinElmer Health Scis., Inc. v. Excelbis Labs LLC,
24       No. 8:20-CV-527 MCS, 2021 WL 1234881 (C.D. Cal. Feb. 5, 2021) ..............12
25    Peterson v. Sanghi,
         No. 8:18CV2000, 2019 WL 1715487 (C.D. Cal. Feb. 14, 2019) ......................19
26
      Piping Rock Partners, Inc. v. David Lerner Assocs., Inc.,
27       946 F. Supp. 2d 957 (N.D. Cal. 2013) ..................................................................8
28
                                                               v
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 8 of 35 Page ID #:516



 1    Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,
         890 F.3d 828 (9th Cir. 2018) ..............................................................................10
 2
      Shelton v. Ocwen Loan Servicing, LLC,
 3       2019 WL 4747669 (S.D. Cal. Sept. 30, 2019)......................................................6
 4    Simoni v. Am. Media, Inc.,
         No. CV 14-573-R, 2014 WL 12597640 (C.D. Cal. July 22, 2014) ....................15
 5
      Snyder v. Phelps,
 6       562 U.S. 443 (2011) ............................................................................................24
 7    Soliman v. Philip Morris Inc.,
         311 F.3d 966 (9th Cir. 2002) ..............................................................................11
 8
      Swartz v. KPMG LLP,
 9      476 F.3d 756 (9th Cir. 2007) ................................................................................4
10    Swipe & Bite Inc. v. Chow,
        147 F. Supp. 3d 924 (N.D. Cal. 2015) ..................................................................4
11
      Town of Chester, N.Y. v. Laroe Ests.,
12      137 S. Ct. 1645 (2017) ........................................................................................22
13    U.S. ex rel. Knapp v. Calibre Sys., Inc.,
         No. CV 10-4466 ODW, 2011 WL 4914711 (C.D. Cal. Oct. 17, 2011) .............21
14
      United Bhd.. of Carpenters & Joiners of Am. v. Bldg. & Const.
15      Trades Dep’t, AFL-CIO,
        770 F.3d 834 (9th Cir. 2014) ................................................................................5
16
      Video Software Dealers Ass’n v. Schwarzenegger,
17       556 F.3d 950 (9th Cir. 2009) ..............................................................................18
18    Wasco Prods., Inc. v. Southwall Techs., Inc.,
        435 F.3d 989 (9th Cir. 2006) ................................................................................4
19
      Waterhouse v. Cufi Church Ass’n Inc.,
20      No. Civ. 14-144 SOM, 2014 WL 1745098 (D. Haw. Apr. 29, 2014) ..................6
21    Wawanesa Mut. Ins. Co. v. Matlock,
        60 Cal. App. 4th 583 (1997) ...............................................................................21
22
      Youngblood v. CVS Pharmacy.,
23      No. 2:20-CV-6251 MCS, 2020 WL 8991698 (C.D. Cal. Oct. 15, 2020)...........24
24    STATUTES
25    Cal. Bus. & Prof. Code § 17208 ..............................................................................10
26    Cal. Civ. Proc. Code § 338(a) ..................................................................................10
27    Cal. Civ. Proc. Code § 340(c) ..................................................................................10
28    Cal. Civ. Proc. Code § 425.16 ...............................................................................2, 6
                                                    vi
       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 9 of 35 Page ID #:517



 1    Cal. Civ. Proc. Code § 425.16(b)(1) ..........................................................................7
 2    Cal. Civ. Proc. Code § 425.16(c)(1) ........................................................................25
 3    Evid Cal. Code § 669(a)(1) ......................................................................................20
 4    OTHER AUTHORITIES
 5    Fed. R. Civ. P. 9(b) ..................................................................................... 11, 12, 13
 6    Fed. R. Civ. P. 12(b)(1), (6) .......................................................................................2
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       DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                    MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 10 of 35 Page ID #:518



 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                      INTRODUCTION
 3           Plaintiffs’ Complaint rests on a fatally flawed theory that finds no support in
 4     the law. They allege that, because they voluntarily branded their entities with the
 5     colors of the nation of Qatar and urged consumers to associate those entities with
 6     that nation, any political speech about Qatar—even when wholly unrelated to
 7     Plaintiffs’ entities—amounts to commercial speech that gives rise to causes of
 8     action for false advertising or unfair competition. Carried to its logical conclusion,
 9     that theory would see courts overrun by businesses claiming incidental economic
10     harm from American citizens’ constitutionally protected speech on issues of
11     foreign policy. A Jewish deli in New York could sue anyone criticizing Israel’s
12     bombings in Gaza simply by alleging that some of their statements were false. Or
13     an Irish pub in Boston could sue anyone criticizing Ireland’s recent decision to
14     finally abandon its low foreign corporate tax rate. The Constitution does not
15     permit this. American citizens are free to exercise their First Amendment right to
16     discuss foreign policy without fear of being sued by businesses that have chosen,
17     as a marketing strategy, to align themselves with the political and economic
18     fortunes of a foreign country.
19           What’s more, despite labeling Defendants’ political speech as a
20     “disinformation conspiracy, Plaintiffs claims fail here because they allege no facts
21     supporting, nor could they ever hope to prove, that Defendants’ political opinions
22     about Qatar are false. Mosafer is a “tourism company,” and Mosafer E-Com is “an
23     affiliated e-commerce website” selling luggage and travel accessories. ECF No. 1
24     at ¶¶ 30, 39, 41. They are not intelligence agencies or governmental actors. They
25     have no factual basis on which to contend, much less prove, that Qatar is not a
26     supporter of terrorism, or that boycotting Qatari businesses is not in the national
27     security interest of the United States.
28     ///
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        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 11 of 35 Page ID #:519



 1           The Complaint’s lack of factual or legal merit only underscores Plaintiffs’
 2     true goal of suppressing Nader’s and the other Defendants’ participation in public
 3     discourse about foreign policy concerning Qatar. None of the allegedly unlawful
 4     statements contained in the Complaint are remotely commercial; none refer to
 5     Plaintiffs, their industry, or any products or services they provide. Yet Plaintiffs
 6     seek both a broad, sweeping injunction that would forever bar Nader from
 7     expressing any opinions about the actions or politics of Qatar and damages that
 8     would financially punish Nader and his co-defendants for expressing those
 9     opinions. Plaintiffs are not entitled to any of the relief they seek.
10           Plaintiffs’ Complaint is a quintessential strategic lawsuit against public
11     participation—an abuse of the judicial process designed to chill Nader’s right to
12     free speech—and as such should be stricken pursuant to California’s anti-SLAPP
13     statute, Cal. Civ. Proc. Code § 425.16. The claims are also legally deficient, and in
14     the alternative should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1), (6).
15                                       BACKGROUND
16           Mosafer states that it is a “destination management company” that “operates
17     retail stores” selling luggage and travel accessories. ECF No. 1 ¶ 17. Mosafer E-
18     Com says it sells luggage online. Id. ¶ 18. GoMosafer purports to be the “online
19     division of Mosafer Travel, a Qatari travel agency.” ECF No. 4 at 2. All Plaintiffs
20     say they are “synonymous with Qatar” and “intimately associated with Qatar.”
21     ECF No. 1 ¶¶ 4, 31, 63, 123.
22           Plaintiffs allege that they incidentally suffered lost business profits when
23     Defendant Elliot Broidy (“Broidy”) expressed his political views about Qatar. The
24     Complaint identifies only a single statement tied to Broidy, a September 2017
25     newspaper advertisement stating, in part, “QATAR IS A SAFE HAVEN FOR
26     TERRORISTS.” ECF No. 1 ¶¶ 66, 89. Plaintiffs allege no facts supporting how
27     Broidy “orchestrated” this ad, id. ¶ 66, and they identify no public statements
28     attributable to Broidy’s two companies, which are also named as Defendants:
                                                2
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 12 of 35 Page ID #:520



 1     Broidy Capital Management, LLC (“BCM”), and Circinus, LLC (“Circinus”)
 2     (along with Broidy, collectively, the “Broidy Defendants”). See ECF No. 1 ¶ 4.
 3           Plaintiffs also identify purported “statements” allegedly made by Defendants
 4     The Iron Group Inc. (“Ironistic”), SCL Social Ltd., Project Associates UK Ltd.,
 5     and Matthew Atkinson (collectively, the “Non-Broidy Defendants”). Id. ¶ 5.
 6     These purported “statements,” which in reality are not statements at all, include
 7     three titles of YouTube videos: “(i) ‘How Qatar is destabilising the Gulf’;
 8     (ii) ‘Why does Qatar support terrorism?’; and (iii) ‘The case for boycotting
 9     Qatar[.]’” Id. ¶ 76. Additionally, Ironistic allegedly accused a third-party airline
10     company of “human rights abuses,” id. ¶ 82, and posted the following on social
11     media: “Expose Qatar’s links with extremists. Stop the flow of blood money.
12     #sanctionQatar. . . . ISIS is just one of Qatar’s many pawns. Uncover Qatar’s
13     links with extremists.” Id. ¶ 83.
14           These are the only purported “statements” alleged in the Complaint.
15     Plaintiffs do not identify a single public statement made by Nader. See generally
16     ECF No. 1. Instead, Plaintiffs attempt to tie Nader to Broidy and the other
17     Defendants by alleging a civil conspiracy. See ECF No. 1 ¶¶ 3, 5.
18           The Complaint asserts five claims against each of the Defendants:
19     (i) violation of California’s Unfair Competition Law (“UCL”); (ii) violation of
20     California’s False Advertising Law (“FAL”); (iii) false advertising under the
21     Lanham Act; (iv) common law trade libel; and (v) common law negligence.
22     Plaintiffs seek a permanent injunction “prohibiting Defendants from engaging in
23     the conduct and practices alleged herein,” and various damages. ECF No. 1 ¶¶
24     105, 113, 121, 126, 131.
25     ///
26     ///
27     ///
28     ///
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        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 13 of 35 Page ID #:521



 1                                        ARGUMENT
 2     I.    Plaintiffs Have Not Sufficiently Pled A Civil Conspiracy.
 3           Plaintiffs’ Complaint does not describe a single allegedly unlawful statement
 4     made by Nader. But because Plaintiffs have failed to plead facts supporting a
 5     finding of an unlawful civil conspiracy, the entire Complaint against Nader fails.
 6           Under California law, civil conspiracy is not a cause of action, but rather is
 7     “a legal doctrine that imposes liability on persons who, although not actually
 8     committing a tort themselves, share with the immediate tortfeasors a common plan
 9     or design in its perpetration.” Swipe & Bite Inc. v. Chow, 147 F. Supp. 3d 924, 936
10     (N.D. Cal. 2015). To hold Nader liable for the acts of alleged co-conspirators,
11     Plaintiffs’ Complaint must allege “(1) the formation and operation of the
12     conspiracy, (2) the wrongful act or acts done pursuant thereto, and (3) the damage
13     resulting from such act or acts.” Wasco Prods., Inc. v. Southwall Techs., Inc., 435
14     F.3d 989, 992 (9th Cir. 2006). “It is not enough that the [conspirators] knew of an
15     intended wrongful act, they must agree—expressly or tacitly—to achieve it.”
16     AREI II Cases, 157 Cal. Rptr. 3d 368, 382 (May 29, 2013).
17           It is well-settled that “bare allegations and rank conjecture do not suffice for
18     civil conspiracy[.]” Id. at 382 (quotation marks and citation omitted). Moreover,
19     “Rule 9(b) imposes heightened pleading requirements where,” as here, “the object
20     of the [alleged]conspiracy is fraudulent.” Swartz v. KPMG LLP, 476 F.3d 756,
21     765 (9th Cir. 2007) (quotation marks omitted). This is particularly true where First
22     Amendment rights are involved. See Lockary v. Kayfetz, 587 F. Supp. 631, 639
23     (N.D. Cal. 1984).
24           Plaintiffs’ civil conspiracy theory fails for several reasons. First, Plaintiffs
25     only allege facts connecting Nader to Broidy alone; the Complaint contains no
26     non-conclusory facts linking Nader to BCM, Circinus, or the Non-Broidy
27     Defendants, or alleging any formal or informal agreement among them. See
28     generally ECF No. 1. This is insufficient. “Bare assertions of ‘agreement,’ or
                                                4
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 14 of 35 Page ID #:522



 1     identifications of particular persons as ‘co-conspirators[,]’ will not suffice.”
 2     United Bhd.. of Carpenters & Joiners of Am. v. Bldg. & Const. Trades Dep’t, AFL-
 3     CIO, 770 F.3d 834, 842 (9th Cir. 2014) (quotation marks and citations omitted).
 4     Plaintiffs “cannot indiscriminately allege that conspiracies existed between and
 5     among all defendants,” as they have tried to do here. Acculmage Diagnostics
 6     Corp. v. Terarecon, Inc., 260 F. Supp. 2d 941, 948 (N.D. Cal. 2003). Plaintiffs
 7     have not pled Nader’s liability for any torts committed by BCM, Circinus, or the
 8     Non-Broidy Defendants.
 9           Second, although the Complaint alleges various agreements between Nader
10     and Broidy, an agreement is not an unlawful conspiracy unless the parties are
11     agreeing to do something wrongful. Pleading the formation and operation of a
12     conspiracy requires facts showing “(i) knowledge of wrongful activity,
13     (ii) agreement to join in the wrongful activity, and (iii) intent to aid in the wrongful
14     activity.” Craigslist Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 981 (N.D. Cal. 2013).
15     Here, Plaintiffs have not alleged that Nader and Broidy agreed to any activity that
16     constitutes a wrong to them.
17           Plaintiffs have no valid cause of action based on the agreement alleged
18     between Nader and Broidy. Plaintiffs have alleged that Nader and Broidy “lobbied
19     members of the United States Government to sever all ties with anything Qatar
20     and effectively boycott its economy,” and “employed conventional print media,
21     internet websites, and social media accounts to publish false and misleading
22     information regarding the safety, stability, and nature of Qatar and Qatari-based
23     businesses.” ECF No. 1 ¶¶ 7, 9 (emphasis added). None of these purported
24     statements relates to tourism, travel accessories, or any of Plaintiffs. See id. ¶¶ 66,
25     76, 82-83. Indeed, Plaintiffs have not pled that Nader or any of the Defendants had
26     even heard of the Plaintiffs before they filed this lawsuit. Nor are Plaintiffs even
27     “Qatari-based businesses.” Mosafer and Mosafer E-Com are both Delaware
28     corporations with their principal places of business in New York. ECF No. 1 ¶¶
                                                 5
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 15 of 35 Page ID #:523



 1     17-18. Plaintiffs admit they are “not controlled by Qatar,” but only “sought to gain
 2     public recognition and brand legitimacy by using Qatar’s colors and invoking
 3     Qatari symbolism.” ECF No. 51 at 1.
 4              While Plaintiffs vaguely allege that Nader and Broidy “spearheaded” or “set
 5     the wheels in motion to orchestrate” a “widespread disinformation campaign,”
 6     which they refer to as the “Disinformation Conspiracy,” see ECF No. 1 ¶¶ 3, 61,
 7     Plaintiffs have not alleged any facts supporting their contention that Nader’s and
 8     Broidy’s various opinions about the “safety, stability, and nature of Qatar” were
 9     either false or misleading.1 See generally ECF No. 1. And, although Plaintiffs
10     contend that Nader’s and Broidy’s work violated the Foreign Agents Registration
11     Act (FARA)—which it did not—Plaintiffs have no private right of action for
12     violations of FARA. Waterhouse v. Cufi Church Ass’n Inc., No. Civ. 14-144
13     SOM, 2014 WL 1745098, at *3 (D. Haw. Apr. 29, 2014). Therefore, Plaintiffs
14     have not alleged that Nader and Broidy conspired to do them any harm.
15              Because Plaintiffs’ Complaint fails to allege facts to support a finding that
16     Nader was part of an unlawful conspiracy with Broidy or the other defendants, the
17     Court must assess each cause of action as to Nader alone. See Shelton v. Ocwen
18     Loan Servicing, LLC, 2019 WL 4747669, at *4 (S.D. Cal. Sept. 30, 2019). And, as
19     the Complaint attributes no statements to Nader, the Court should dismiss all
20     claims against him. However, even if the Court credits Plaintiffs’ conspiracy
21     theory, Nader’s motion should still be granted for the reasons discussed below.
22     II.      The Court Should Strike The Complaint Under California’s Anti-
23              SLAPP Statute.
24              If, notwithstanding the above, the Court accepts Plaintiffs’ conspiracy
25     theory, the Court should strike the Complaint pursuant to Cal. Civ. Proc. Code §
26     425.16. “California’s anti-SLAPP statute provides a burden-shifting mechanism to
27
       1
28         See Section II.B.3, infra.
                                                    6
           DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                        MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 16 of 35 Page ID #:524



 1     weed out lawsuits that masquerade as ordinary lawsuits but are brought to deter
 2     citizens from exercising their political or legal rights or to punish them for doing
 3     so.” Manzari v. Associated Newspapers Ltd., 830 F.3d 881, 886-87 (9th Cir.
 4     2016). The statute “allows a defendant to file a ‘special motion to strike’ a
 5     plaintiff’s Complaint, and involves a two-step inquiry.” Herring Networks, Inc. v.
 6     Maddow, 8 F.4th 1148, 2021 WL 3627126, at *4 (9th Cir. Aug. 17, 2021). First,
 7     “the moving defendant must make a prima facie showing that the plaintiff’s suit
 8     arises from an act in furtherance of the defendant’s constitutional right to free
 9     speech. . . . At step two, assuming that showing has been made, the burden shifts
10     to the plaintiff to establish a reasonable probability that it will prevail on its
11     claims.” Maloney v. T3Media, Inc., 853 F.3d 1004, 1009 (9th Cir. 2017)
12     (quotation marks and citations omitted).
13           A.     Plaintiffs’ Claims Arise From Acts In Furtherance Of
14                  Defendants’ Constitutional Right To Free Speech.
15           For each of Plaintiffs’ claims, Nader easily satisfies his initial burden of
16     making a prima facie showing that the claim “aris[es] from” an act “in furtherance”
17     of Defendants’ right to free speech “in connection with a public issue.” Cal. Civ.
18     Proc. Code § 425.16(b)(1). These protected activities expressly include “any
19     written or oral statement or writing made in a place open to the public or a public
20     forum in connection with an issue of public interest,” as well as “any other conduct
21     in furtherance of the exercise of the constitutional right of petition or the
22     constitutional right of free speech in connection with a public issue or an issue of
23     public interest.” Id. § 425.16(e). The anti-SLAPP statute “shall be construed
24     broadly.” Id. § 425.16(a).
25           “[T]he critical consideration is whether the cause of action is based on the
26     defendant’s protected free speech or petitioning activity.” Mindys Cosms., Inc. v.
27     Dakar, 611 F.3d 590, 597 (9th Cir. 2010) (emphasis in original). Each of
28     Plaintiffs’ five causes of action is based on purported “disinformation” (actually
                                                   7
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 17 of 35 Page ID #:525



 1     protected speech) made, or caused to be made, by one or more Defendants. See
 2     ECF No. 1 ¶¶ 101(a), 108, 116, 124, 129. This undefined “disinformation” is
 3     apparently comprised of the alleged “statements” that Qatar is a safe haven for
 4     terrorists and extremists, Qatar commits human rights abuses, and Qatar should be
 5     boycotted as a result. See id. ¶¶ 66, 76, 82-83. These are political opinions that
 6     easily fall within the protection of the anti-SLAPP statute. Qatar’s connection to
 7     terrorism is a public issue that is routinely discussed in mainstream media.2 The
 8     Defendants’ purported statements are clearly encompassed within the “catch-all”
 9     provision of § 425.16(e)(4).
10             The statements are also protected because they were made in a public forum.
11     See § 425.16(e)(3). Plaintiffs allege that the Broidy Defendants used “print media,
12     internet websites, and social media accounts” to publish the purported statements.
13     See ECF No. 1 ¶ 7. Newspapers, magazines, websites, and free online message
14     boards and forums that are accessible to the public are all public fora within the
15     meaning of § 425.16(e)(3). See Piping Rock Partners, Inc. v. David Lerner
16     Assocs., Inc., 946 F. Supp. 2d 957, 975 (N.D. Cal. 2013); Nygard, Inc. v. Uusi-
17     Kerttula, 159 Cal. App. 4th 1027, 1037 (2008).
18             In addition, the statements at issue address topics, including Qatar’s
19     terrorism ties, a potential boycott, and human rights abuses, that are protected by
20     the anti-SLAPP statute as a matter of law. See ECF No. 44 at 7-8 (collecting
21     cases).
22             In their opposition to the Broidy Defendants’ Anti-SLAPP Motion, Plaintiffs
23     contend that Defendants’ speech was illegal as a matter of law because they failed
24     to register under FARA, and thus that California’s anti-SLAPP law does not apply.
25
       2
         See, e.g., Lawsuits by U.S. victims accuse top Qatar banks and charity of
26
       financing terrorism in Israel, THE WASHINGTON POST (Dec. 15, 2020); Op-Ed:
27     Qatar is a financier of terrorism. Why does the U.S. tolerate it?, LOS ANGELES
       TIMES (June 9, 2017); Trump Takes Credit for Saudi Move Against Qatar, a U.S.
28
       Military Partner, THE NEW YORK TIMES (June 6, 2017).
                                                 8
           DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                        MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 18 of 35 Page ID #:526



 1     ECF No. 51 at 7. Plaintiffs are incorrect. FARA criminalizes only the failure to
 2     register, not the speech itself.
 3            The Supreme Court has made clear that FARA “places no burden on
 4     protected expression.” Meese v. Keene, 481 U.S. 465, 480 (1987) (“Congress did
 5     not prohibit, edit, or restrain the distribution of advocacy materials in an ostensible
 6     effort to protect the public from conversion, confusion, or deceit.”); see also
 7     Attorney General of U.S. v. The Irish People, Inc., 612 F. Supp. 647, 654 (D.D.C.
 8     1985) (“registration under FARA does not prevent the exercise of constitutional
 9     rights”). The purpose of FARA is not to prevent any speech, but simply to provide
10     information to the American public so that people “may appraise their statements
11     and actions in the light of [the speaker’s] associations and activities.” Keene, 481
12     U.S. at 480; see also ECF No. 1 ¶ 51. Even if that context is missing, the failure to
13     register under FARA does not ipso facto transform legal speech into illegal speech.
14            The cases upon which Plaintiffs rely are inapposite because they concern
15     extortion—a criminal offense based on the illegal content of the speech, rather than
16     the status of the speaker. See ECF No. 51 at 7 (citing Flatley v. Mauro, 139 P.3d 2
17     (2006); Harmoni Int’l Spice, Inc. v. Bai, No. CV-16-00614-BRO, 2016 WL
18     6542731 (C.D. Cal. May 24, 2016)). Notably, Plaintiffs have cited no case holding
19     that the illegal speech exemption in anti-SLAPP statutes applies to the kind of
20     speech at issue here—the expression of constitutionally protected political opinions
21     on issues of great public interest—based on the failure to register under FARA.
22     Therefore, Nader has satisfied his initial burden.
23            B.     Plaintiffs Cannot Satisfy Their Burden Of Establishing A
24                   Reasonable Probability Of Prevailing On Their Claims.
25            Plaintiffs cannot meet their burden under the second step of the anti-SLAPP
26     inquiry. “Under the anti-SLAPP statute, if the plaintiff cannot show a probability
27     of prevailing on a claim, the claim is stricken.” Doe v. Gangland Prods., Inc., 730
28     F.3d 946, 953 (9th Cir. 2013). Here, Nader challenges the legal sufficiency of
                                               9
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 19 of 35 Page ID #:527



 1     Plaintiffs’ claims, so the Court “should apply the Federal Rule of Civil Procedure
 2     12(b)(6) standard and consider whether a claim is properly stated.” Planned
 3     Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th
 4     Cir. 2018).
 5                   1.    GoMosafer lacks the capacity to sue.
 6           For all the reasons stated in Broidy’s motion to strike or dismiss the
 7     Complaint, GoMosafer lacks the legal capacity to sue; accordingly, the Court
 8     should dismiss it from the case. See ECF No. 44 at 8-9. Plaintiffs appear to agree:
 9     In response to Broidy’s motion, Plaintiffs represented that, “to the extent the Court
10     deems it appropriate, Plaintiffs will amend their Complaint to substitute
11     GoMosafer.” ECF No. 51 at 20.
12                   2.    The claims against Nader are time-barred.
13           By Plaintiffs’ own admission, on the face of their Complaint, they suffered
14     harm by “mid-2017,” ECF No. 1 ¶ 91, and as early as February 2017, see id. ¶ 78.
15     That is more than four years before they filed their Complaint, in August 2021,
16     which renders each of their claims time-barred. See Cal. Bus. & Prof. Code
17     § 17208 (four-year limitations period for UCL claims); Cal. Civ. Proc. Code
18     § 338(a) (three-year limitations period for FAL claims); id. & § 388(d) (both
19     prescribing three-year limitations periods, which leave Plaintiffs’ Lanham Act
20     claim presumptively barred, see Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304
21     F.3d 829, 837-38 (9th Cir. 2002)); Cal. Civ. Proc. Code § 340(c) (one-year
22     limitations period for trade libel and negligence where, as here, those claims based
23     in alleged defamation).
24           Nor may Plaintiffs resurrect any of their claims by asserting that they
25     sustained some of their damages more recently. Under California law, the statute
26     of limitations begins to run as soon as the plaintiff sustains any injury:
27           [W]here an injury, although slight, is sustained in consequence of the
             wrongful act of another, and the law affords a remedy therefor, the statute of
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                                                 10
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 20 of 35 Page ID #:528



 1           limitations attaches at once. It is not material that all the damages resulting
 2           from the act shall have been sustained at that time, and the running of the
             statute is not postponed by the fact that the actual or substantial damages do
 3           not occur until a later date.
 4     Soliman v. Philip Morris Inc., 311 F.3d 966, 972 (9th Cir. 2002) (quotation marks
 5     omitted). This is true “even [where] the plaintiff is ignorant of his cause of action
 6     or of the identity of the wrongdoer.” Gianni Versace, S.p.A. v. Dardashti, No. CV
 7     07-8204 ODW (EX), 2008 WL 11338729, at *2 (C.D. Cal. Apr. 21, 2008); see
 8     also, e.g., Lathan v. Vermillion, 118 F. App’x 163, 165 (9th Cir. 2004) (“We found
 9     no California authority holding that an applicable statute of limitations is tolled
10     unless both the cause of action and the identity of a wrongdoer have been
11     discovered.”).
12           Accordingly, the Court should dismiss each of Plaintiffs’ claims as untimely.
13                  3.     Plaintiffs have not adequately pled—and cannot establish—
14                         that Defendants knowingly made false statements about
15                         Qatar.
16           The Complaint must be dismissed as to Nader for failing to meet the
17     heightened pleading standards of Federal Rule of Civil Procedure 9(b). As to each
18     of its claims, the Complaint alleges that Nader “knowingly and intentionally spread
19     disinformation” on three topics—that “(1) Qatar and Qatari businesses were
20     unstable and untrustworthy; (2) the political state of Qatar was extremely unstable,
21     rendering travel to and through Qatar unsafe; and (3) boycotting Qatar businesses
22     was necessary to counteract their terrorism funding activities.” ECF No. 1 ¶¶
23     101(a), 108, 116, 124, 129. Rule 9(b)’s heightened pleading standard therefore
24     applies to all five claims, including the claim for negligence, as it is based on
25     negligent misrepresentation. See ECF No. 44 at 15-16 (collecting cases); see also
26     ECF No. 1 ¶ 129 (alleging defendants acted “knowingly and intentionally”).
27           For a host of reasons, Plaintiffs fail to meet that heightened standard as to
28     Nader. First, while the Complaint accuses Nader of many things, it identifies no
                                              11
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 21 of 35 Page ID #:529



 1     allegedly false statements made by him; it attributes such statements only to others.
 2     Contrast ECF No. 1 ¶¶ 58-65 (high-level accusations about Nader) with id. ¶ 66
 3     (attributing allegedly false statements in newspaper ad to “Broidy”). But “Fed. R.
 4     Civ. P. 9(b) does not allow a complaint to merely lump multiple defendants
 5     together but requires plaintiffs to differentiate their allegations[.]” PerkinElmer
 6     Health Scis., Inc. v. Excelbis Labs LLC, No. 8:20-CV-527 MCS, 2021 WL
 7     1234881, at *2 (C.D. Cal. Feb. 5, 2021) (quotation marks, brackets, and ellipsis
 8     omitted). As to Nader, the Complaint only alleges generically that he engaged in
 9     “disinformation,” see generally ECF No. 1, which is insufficient as a matter of law.
10     See, e.g., Mahnke v. Bayer Corp., No. 2:19-CV-7271 RGK, 2019 WL 8621437, at
11     *8 (C.D. Cal. Dec. 10, 2019) (dismissing claims based on “misinformation” under
12     Rule 9(b)); Films of Distinction, Inc. v. Allegro Film Prods., Inc., 12 F. Supp. 2d
13     1068, 1082 (C.D. Cal. 1998) (dismissing claim that “improperly relies on the
14     overall message” rather than any specific statement).
15             But that is only the beginning of the Complaint’s failings as to Nader. As to
16     two of the three categories of “disinformation” Plaintiffs repeat throughout the
17     Complaint—that “Qatar and Qatari businesses were unstable and untrustworthy”
18     and that “the political state of Qatar was extremely unstable”—the Complaint
19     alleges no supporting facts at all as to any Defendant. All of its supporting facts
20     instead concern the third—that boycotting Qatari businesses “was necessary to
21     counteract their terrorism-funding activities.”3 And as to that one, the Complaint
22     alleges not a single fact supporting the allegation that statements about Qatar
23     funding terrorism were in fact false. It alleges the falsity of those statements in
24     purely conclusory fashion, which fails under any pleading standard, let alone the
25
       3
        Even there, the Complaint does not actually identify statements suggesting that
26
       boycotting Qatari businesses was a necessary response to its terrorism-funding
27     activities; it alleges only that Qatar was falsely accused of facilitating terrorism,
       without identifying any statements about the need to therefore boycott Qatari
28
       businesses.
                                                   12
           DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                        MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 22 of 35 Page ID #:530



 1     heightened standard required by Rule 9(b). In re GlenFed, Inc. Sec. Litig., 42 F.3d
 2     1541, 1553 (9th Cir. 1994) (complaint that omits allegations explaining how
 3     statements were false when made fails to meet FRCP 9(b)’s particularity
 4     requirement).
 5             That failure is no coincidence; the public record is replete with authoritative
 6     statements of Qatar’s support of terrorism. The State Department has reported that
 7     “entities and individuals within Qatar continue to serve as a source of financial
 8     support for terrorist and violent extremist groups.”4 The Department of Treasury
 9     likewise has sanctioned numerous individuals residing in Qatar for raising funds
10     for Al Qaeda.5 Jake Sullivan, the present National Security Advisor, stated in
11     2017, that, “we are not placing a high enough priority on the national security
12     threats to the United States that is [sic] emanating from the financing of terror
13     groups by Qatar and other countries. And we have to be doing more on that.”6
14     The New York Times similarly has reported on Qatar’s support of Al Qaeda and
15     ISIS affiliates in Syria, known as the Nusrah Front and Daesh.7 And the Times of
16     Israel has reported that Qatar has permitted Hamas leaders to operate freely within
17     its borders and provided Hamas substantial funding.8 The Complaint itself
18     indirectly acknowledges this public record when it alleges that “the UAE attacked
19     Qatar” in June 2017 by “severing all diplomatic ties with Qatar” and “closing off
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21
           See https://2009-2017.state.gov/documents/organization/258249.pdf.
       5
22         See https://www.treasury.gov/press-center/press-releases/Pages/jl0143.aspx.
23     6
         https://s3.us-east-
24     2.amazonaws.com/defenddemocracy/uploads/documents/Qatar_transcript_FInal.pd
       f
25
       7
26      https://www.nytimes.com/2014/09/08/world/middleeast/qatars-support-of-
       extremists-alienatesallies-near-and-far.html?
27
       8
         https://www.timesofisrael.com/liveblog_entry/hamas-leader-addresses-qatar-
28
       rally-amid-gazafighting-vows-to-ramp-up-attacks/
                                               13
           DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                        MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 23 of 35 Page ID #:531



 1     its airspace and territorial waters to Qatari vessels.” ECF No. 1 ¶45. Those actions
 2     were reportedly taken by five different nations—not just the UAE—precisely
 3     because of Qatar’s “close ties to Iran and a wide selection of Islamist
 4     movements.”9 The Court may take judicial notice of all of these public statements.
 5     MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986).
 6             Especially in light of the public record, the Complaint’s failure to plead any
 7     facts supporting the claim that statements about Qatar funding terrorism are false is
 8     fatal to its claims.10 Further, these statements illustrate the implausibility that
 9     Nader made any such statements knowing they were false. GIA-GMI, LLC v.
10     Michener, No. C06-7949 SBA, 2007 WL 2070280, at *9 (N.D. Cal. July 16, 2007)
11     (“Plaintiff’s failure to allege any facts showing knowing falsity renders all of its
12     fraud claims defective.”). Plaintiffs’ claims will require them to prove that Nader
13     knew more about these issues than the State Department, the Treasury Department,
14     and the current National Security Adviser. The Complaint offers nothing
15     suggesting that this highly unlikely scenario is plausible.
16

17

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       9
19      Anne Barnard & David D. Kirkpatrick, 5 Arab Nations Move to Isolate Qatar,
20
       Putting the U.S. in a Bind, N.Y. Times (June 5, 2017),
       https://www.nytimes.com/2017/06/05/world/middleeast/qatar-saudi-arabia-egypt-
21     bahrain-united-arab-emirates.html.
22    10
         Plaintiffs’ claims in Counts 1 and 2 also fail because Plaintiffs fail to allege their
23     own reliance on any purportedly false statements by Nader. Although “[n]o
       California courts have explicitly considered whether third party reliance is
24     sufficient to sustain a false advertising claim between competitors, . . . [a]mong the
25     federal courts to have considered the issue, the ‘majority approach’ has been to
       require that the plaintiff plead its own reliance.” In re Outlaw Lab’y, LLP, 463 F.
26
       Supp. 3d 1068, 1085-86 (S.D. Cal. 2020) (dismissing FAL claim based on harm to
27     plaintiff from third-party’s reliance on defendant’s false statements). Plaintiff’s
       allegations that third parties relied on Nader’s purported misrepresentations are
28
       therefore insufficient as a matter of law.
                                                   14
           DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                        MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 24 of 35 Page ID #:532



 1                    4.     The alleged statements about Qatar are not commercial
 2                           speech.
 3              Plaintiffs also have no reasonable probability of success on Counts 1, 2, and
 4     3 because the alleged “disinformation” that forms the basis for those claims is not
 5     commercial speech. California’s consumer protection laws and the Lanham Act
 6     apply to commercial speech only. See Ariix, LLC v. NutriSearch Corp., 985 F.3d
 7     1107, 1120 n.9 (9th Cir. 2021); Simoni v. Am. Media, Inc., No. CV 14-573-R, 2014
 8     WL 12597640, at *2 (C.D. Cal. July 22, 2014). “[T]he core notion of commercial
 9     speech is that it does no more than propose a commercial transaction.” Hoffman v.
10     Capital Cities/ABC, Inc., 255 F.3d 1180, 1184 (9th Cir. 2001) (quotation marks
11     omitted). No reasonable factfinder could conclude that statements to the effect that
12     Qatar is a safe haven for terrorists and extremists, it commits human rights abuses,
13     and it should be boycotted as a result, see ECF No. 1 ¶¶ 66, 76, 82-83, are
14     commercial advertising.
15              Where, unlike here, there is a “close question” as to whether speech is
16     commercial, courts go on to analyze the statements under the three so-called
17     Bolger11 factors: “(i) their advertising format, (ii) their reference to a specific
18     product, and (iii) the underlying economic motive of the speaker.” Dex Media W.,
19     Inc. v. City of Seattle, 696 F.3d 952, 958 (9th Cir. 2012). If the Bolger factors
20     weigh in favor of commercial speech, the court then asks whether the commercial
21     speech is “inextricably intertwined” with noncommercial speech; if so, it receives
22     full First Amendment protection. See Lauren Moshi, LLC v. Fuentes, No. CV 18-
23     6725 DMG, 2020 WL 2303081, at *2 (C.D. Cal. Jan. 17, 2020).
24                           a)    The statements do not present a close question.
25              This Court need not consider the Bolger factors. See IMDb.com Inc. v.
26     Becerra, 962 F.3d 1111, 1122 (9th Cir. 2020) (“Because IMDb’s public profiles do
27
       11
28          See Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 66-67 (1983).
                                                15
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 25 of 35 Page ID #:533



 1     not ‘propose a commercial transaction,’ we need not reach the Bolger factors.”).
 2     The speech at issue in this case has nothing to do with any commercial transaction;
 3     it is not a close question.
 4            Plaintiffs have conceded, as they must, that the statements in the Complaint
 5     allegedly comprising the “disinformation” “do not appear to propose a commercial
 6     transaction.” ECF No. 51 at 12. Indeed, the alleged statements make no mention
 7     of any product or service whatsoever. See ECF No. 1 ¶¶ 66, 76, 82-83. The
 8     Bolger analysis is only required where courts need assistance giving effect to “a
 9     common-sense distinction between commercial speech and other varieties of
10     speech.” Ariix, 985 F.3d at 1115. In this case, unaided common sense compels the
11     conclusion that the alleged “disinformation” that is the subject of Plaintiffs’
12     Complaint is political, rather than commercial.
13                          b)       The statements are not commercial under the Bolger
14                                   factors.
15            Even if the Court conducts a Bolger analysis, Plaintiffs’ claims fail.
16            First, the supposed statements are not in advertising format, which Plaintiffs
17     concede. See ECF No. 51 at 12 (“the statement here were not in the traditional
18     form of an advertisement”).
19            Second, none of the alleged “disinformation” statements mentioned any of
20     the Plaintiffs—let alone their specific travel booking services or products. See id.
21     ¶¶ 66, 76, 82-83. Nor did the alleged statements promote products or services
22     offered by the Broidy Defendants, who are involved in the investment and
23     government contracts industries, or Nader, who is a journalist and political
24     consultant. See id. The alleged statements directly criticize the nation of Qatar
25     itself, and no court ever has held that a statement about the country with which a
26     company was “intimately associated . . . in the eyes of the consumer,” ECF No. 51
27     at 13, satisfies the second Bolger factor. To the contrary, such attenuated
28     statements are not the type of “references to a specific product or service” that
                                                16
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 26 of 35 Page ID #:534



 1     courts require. Katzkin Leather, Inc. v. Nissan N. Am., Inc., No. CV 05-971, 2005
 2     WL 3593999, at *5 (C.D. Cal. Dec. 22, 2005).
 3           Third, the crux of the final Bolger factor is “whether the speaker had an
 4     adequate economic motivation so that the economic benefit was the primary
 5     purpose for speaking.” Ariix, 985 F.3d at 1117 (emphasis added). Although
 6     Plaintiffs allege that Nader made certain payments to Broidy and BCM, “as part of
 7     an effort to persuade the U.S. to take a hard line against Qatar,” ECF No. 1 ¶ 59,
 8     Plaintiffs allege no facts supporting their contention that Defendants were
 9     primarily motivated by economic self-interest rather than legitimate concerns
10     about Qatar’s ties to Islamic extremism and the associated threats to American
11     national security and stability in the Middle East. See generally ECF No. 1.
12     Rather, the Plaintiffs ask the Court to make expansive inferences about the reasons
13     for each of those payments. But there are no factual allegations to nudge those
14     inferences across the line from conceivable to plausible. See generally id. Thus,
15     the Court cannot infer that Nader or the Broidy Defendants “acted primarily out of
16     economic motivation” in supposedly publishing the statements. Ariix, 985 F.3d at
17     1116 (emphasis in original).
18           In short, the Bolger factors indicate that the alleged “disinformation”
19     statements in the Complaint are not commercial speech, and thus are not subject to
20     the state and federal unfair competition and false advertising statutes.
21                         c)    At a minimum, the speech is “inextricably intertwined.”
22           Even if the Broidy Defendants actually made statements about Qatar in part
23     for a commercial purpose, and even if Nader could be held responsible for those
24     statements, those statements nevertheless also constitute political speech about a
25     hot-button issue of foreign policy, as the Plaintiffs themselves allege. See ECF No.
26     1 ¶¶ 3, 59. As the Ninth Circuit has explained, full First Amendment protection
27     applies “if the commercial speech is inextricably intertwined with otherwise fully-
28     protected speech, e.g., political speech.” Video Software Dealers Ass’n v.
                                                 17
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 27 of 35 Page ID #:535



 1     Schwarzenegger, 556 F.3d 950, 966 n.19 (9th Cir. 2009). At most, therefore, the
 2     statements identified in the Complaint represent intertwined speech deserving of
 3     the highest protection. See Mattel, Inc. v. MCA Recs., Inc., 296 F.3d 894, 906 (9th
 4     Cir. 2002). Because the alleged statements do not amount to commercial speech,
 5     Counts 1-3 fail as a matter of law.
 6                   5.      Plaintiffs Have Failed To State A Claim Under The Lanham
 7                           Act.
 8            For still additional reasons, Plaintiffs have no reasonable probability of
 9     succeeding on their Lanham Act claim in Count 3. The Lanham Act “prohibits a
10     person from misrepresenting the nature, characteristics, qualities, or geographic
11     origin of his or her or another person’s goods, services, or commercial activities in
12     commercial advertising or promotion.” Agency Y LLC v. DFO Glob. Performance
13     Com Ltd., No. CV 20-1716 JVS, 2021 WL 2791616, at *7 (C.D. Cal. Apr. 22,
14     2021). A false advertising claim under the Lanham Act requires, among other
15     things, a showing that: (1) the defendant made a false statement either about the
16     plaintiff’s or its own product; [and] (2) the statement was made in commercial
17     advertisement or promotion[.]” Id. This claim fails for at least three reasons.
18            First, none of the purported statements identified in the Complaint mention,
19     or is about, any product or service. See id. ¶¶ 66, 76, 82-83. The statements listed
20     in the Complaint are all about the nation of Qatar, which is neither a product nor a
21     service. The Plaintiffs would have this Court stretch the Lanham Act to
22     encompass any statements about a foreign country, so long as a private company
23     that employs a “deliberate attempt and marketing strategy to make themselves
24     synonymous with” said country claims economic harm. See ECF No. 51 at 12. No
25     court has ever construed the Lanham Act so broadly, and this Court should not be
26     the first to do so.
27     ///
28     ///
                                                 18
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 28 of 35 Page ID #:536



 1            Second, as discussed in Section II.B.3, supra, Plaintiffs have not pleaded
 2     facts showing that any of the purported “disinformation” statements about Qatar
 3     are false.
 4            Third, although the Lanham Act does not define “advertising” or
 5     “promotion,” the Ninth Circuit has construed these terms as: “(1) commercial
 6     speech, (2) by a defendant who is in commercial competition with plaintiff, (3) for
 7     the purpose of influencing consumers to buy defendant’s goods or services, and
 8     (4) that is sufficiently disseminated to the relevant purchasing public.” Ariix, 985
 9     F.3d at 1115. For the reasons discussed in Section II.B.4, supra, none of the
10     alleged “disinformation” constitutes commercial speech. Additionally, none of
11     Defendants sells travel accessories or books travel for customers in “commercial
12     competition” with the Plaintiffs. And, finally, the alleged “disinformation” was
13     not for the purpose of influencing any consumer to buy goods or utilize services
14     offered by any Defendant. Thus, the Lanham Act claim fails.
15                  6.     Plaintiffs Have Failed To State A Claim For Trade Libel.
16            Plaintiffs’ claim for trade libel fares no better. The Broidy Defendants
17     recently moved to dismiss this claim, citing law establishing that Plaintiffs must
18     plead “special damages,” pursuant to the heightened pleading standard of Federal
19     Rule of Civil Procedure 9(g), to survive a motion to dismiss, including pleading
20     both “particular purchasers who have refrained from dealing with them” and
21     “specif[ic]” “transactions of which they claim to have been deprived.” Peterson v.
22     Sanghi, No. 8:18CV2000, 2019 WL 1715487, at *9 (C.D. Cal. Feb. 14, 2019)
23     (quotation marks and brackets omitted); see generally ECF No. 44 at 19-20. In
24     response, Plaintiffs offered only the bare assertion, with no citation to authority,
25     that “it is sufficient that Plaintiffs allege that they lost customers” generally. ECF
26     No. 51 at 20. The law is to the contrary. See, e.g., Homeland Housewares, LLC v.
27     Euro-Pro Operating LLC, No. CV 14-3954 DDP, 2014 WL 6892141, at *4 (C.D.
28     Cal. Nov. 5, 2014) (“Plaintiffs did not set forth any factual allegations other than
                                                 19
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 29 of 35 Page ID #:537



 1     that Plaintiffs lost sales, market share, and customer goodwill. This conclusory
 2     statement is not sufficient to properly plead special damages for trade libel under
 3     California law.”).
 4                  7.      Plaintiffs Fail To State A Claim For Negligence.
 5           Besides its failure to identify any actual misrepresentations by Nader, see
 6     Section I, supra, the Complaint fails to state a claim for negligence against him for
 7     other reasons as well. Plaintiffs’ primary claim is that the duty of care Nader
 8     allegedly violated is supplied by FARA. ECF No. 1 ¶129. That is a claim of
 9     negligence per se, yet the Complaint fails to allege any of the prerequisites for such
10     a claim under California law. See Evid Cal.. Code § 669(a)(1) (requiring
11     allegation that violation of statutory duty of care resulted in “death or injury to
12     person or property”). Negligence per se furthermore lies only when a plaintiff is a
13     member of a discrete class of persons for whose protection a statute was enacted.
14     Id. § 669(a)(4); Coleman v. Medtronic, Inc., 167 Cal. Rptr. 3d 300, 315, as
15     modified (Feb. 3, 2014). But FARA “provides a general benefit to the public rather
16     than any special category of persons . . . .” Comm. for a Free Namibia v. S. W. Afr.
17     People’s Org., 554 F. Supp. 722, 725 (D.D.C. 1982) (finding no implied private
18     right of action under FARA). Recognizing—for the first time—a duty of care
19     under FARA would do an end-run around the lack of any express or implied right
20     of action under FARA, a move especially inappropriate given that FARA was
21     enacted “[t]o protect the national defense, internal security, and foreign relations of
22     the United States.” Keene, 481 U.S. at 469; see also Haig v. Agee, 453 U.S. 280,
23     292 (1981) (“Matters intimately related to . . . national security are rarely proper
24     subjects for judicial intervention.”). That is especially true here, where the alleged
25     losses are purely economic—yet another fact that counsels against finding any kind
26     of tort duty of care. Hameed-Bolden v. Forever 21 Retail, Inc., No. CV-1803019,
27     2018 WL 6802818, at *4 (C.D. Cal. Oct. 1, 2018) (no duty to prevent “purely
28     economic losses” absent “personal injury,” “physical damage to property,” or “a
                                              20
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 30 of 35 Page ID #:538



 1     special relationship existing between the parties”). Nor is economic harm to third
 2     parties “the kind of harm,” Wawanesa Mut. Ins. Co. v. Matlock, 60 Cal. App. 4th
 3     583, 586-87 (1997) (emphasis in original), that FARA was designed to prevent.
 4     Keene, 481 U.S. at 469 (FARA enacted to ensure “the Government and the people
 5     of the United States may be informed of the identity of such persons and may
 6     appraise their statements and actions”). The Complaint recognizes as much. ECF
 7     No. 1 ¶ 51 (FARA seeks “to give the American people the ability to fully evaluate
 8     political communications”).
 9            Plaintiffs further fail to allege how registration under FARA would have
10     prevented individuals from being influenced by the purported misrepresentations
11     they allege. They also fail to allege how Nader may have unintentionally, but
12     negligently, made any particular false statement. U.S. ex rel. Knapp v. Calibre
13     Sys., Inc., No. CV 10-4466 ODW, 2011 WL 4914711, at *4 (C.D. Cal. Oct. 17,
14     2011) (“inherently intentional conduct cannot support a claim of negligence”). For
15     all of these reasons, the negligence claim fails.
16     III.   In The Alternative, Plaintiffs’ Complaint Should Be Dismissed Because
17            It Fails To State A Claim Against Nader.
18            If the Court were to decline to strike any of Plaintiffs’ claims under the anti-
19     SLAPP statute, it should dismiss them under Rule 12(b)(6) for the reasons
20     discussed above. See Future Ads LLC v. Gillman, No. CV 13-905 DOC, 2013 WL
21     12306479, at *2 (C.D. Cal. Dec. 23, 2013) (“Defendants often move to strike under
22     the anti-SLAPP statute [and] mov[e] to dismiss.”).
23            The Court’s dismissal should be without leave to amend because “the
24     Complaint could not be saved by any amendment.” Intri-Plex Techs., Inc. v. Crest
25     Grp., Inc., 499 F.3d 1048 (9th Cir. 2007). Defendants’ political speech and
26     advocacy about foreign policy relating to Qatar cannot possibly support any tort
27     claim by Plaintiffs. Leave to amend “need not be granted where the amendment of
28     ///
                                                 21
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 31 of 35 Page ID #:539



 1     the Complaint . . . constitutes an exercise in futility[.]” Ascon Properties, Inc. v.
 2     Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989).
 3     IV.   Plaintiffs Cannot Obtain Injunctive Relief.
 4           Even if the Complaint is not dismissed outright, for at least the two reasons
 5     developed below, Plaintiffs are not eligible for injunctive relief. See ECF No. 1 ¶¶
 6     105, 113, 121. Accordingly, the Court should dismiss the Complaint insofar as it
 7     seeks that remedy.
 8           A.     Plaintiffs Do Not Have Standing To Seek Injunctive Relief.
 9           Plaintiffs face no impending injury and thus lack standing to petition this
10     Court for injunctive relief. This is particularly so as to Nader, who currently is
11     incarcerated—he poses no imminent threat to Plaintiffs.
12           Standing is a constitutional prerequisite; without it, this Court lacks
13     jurisdiction. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 559-61 (1992). Standing
14     must be established “separately for each form of relief requested.” Town of
15     Chester, N.Y. v. Laroe Ests., 137 S. Ct. 1645, 1650-51 (2017) (quotation marks
16     omitted).
17           To establish standing for injunctive relief, Plaintiffs must “demonstrate a
18     reasonable likelihood of future injury.” Bank of Lake Tahoe v. Bank of Am., 318
19     F.3d 914, 918 (9th Cir. 2003). That future injury must be “imminent” and not
20     “conjectural or hypothetical.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956,
21     967 (9th Cir. 2018). And allegedly likely future injuries that connect to a
22     defendant’s allegedly likely future actions only via additional speculation about the
23     potential behavior of third-party intermediaries—e.g., consumers of “high-end”
24     travel services, ECF No. 1 ¶¶ 17, 18, 39, 101—are particularly insufficient to
25     establish standing. See, e.g., Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414
26     (2013) (“We decline to abandon our usual reluctance to endorse standing theories
27     that rest on speculation about the decisions of independent actors.”).
28     ///
                                                  22
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 32 of 35 Page ID #:540



 1           Here, Plaintiffs have alleged no future statement that Nader intends to make,
 2     nor any further concrete harm that he is likely to cause them. Rather, Plaintiffs
 3     allege, at best, only past statements and acts. See, e.g., ECF No. 1 ¶ 58 (alleging
 4     that Nader participated in certain political advocacy). As to Nader, Plaintiffs even
 5     affirmatively establish, by alleging his “incarcerat[ion],” that there exists no
 6     ongoing threat or risk of harm whatsoever. ECF No. 1 ¶ 24. Finally, even if
 7     Plaintiffs had made allegations of supposed future actions and harms, those
 8     allegations would depend entirely, and impermissibly, see, e.g., Clapper, 568 U.S.
 9     at 414, on speculation about the future behavior of third-party consumers.
10           Plaintiffs’ defective pleading is fatal to their effort to obtain injunctive relief.
11     See, e.g., Munns v. Kerry, 782 F.3d 402, 411-12 (9th Cir. 2015) (“Despite being
12     harmed in the past, the [plaintiffs] must still show that the threat of injury in the
13     future is ‘certainly impending’ or that it presents a ‘substantial risk’ of recurrence
14     for the court to hear their claim for prospective relief.”) (quoting Clapper, 568 U.S.
15     at 414 n.5).
16           B.       Plaintiffs Cannot Support Their Request For A Permanent
17                    Injunction.
18           Even if Plaintiffs could demonstrate standing, the Court nonetheless should
19     dismiss their claims insofar as they seek injunctive relief because Plaintiffs cannot
20     satisfy the standard for such relief.
21           As the Supreme Court has explained: “[A] plaintiff seeking a permanent
22     injunction must satisfy a four-factor test before a court may grant such relief. A
23     plaintiff must demonstrate: (1) that it has suffered an irreparable injury; (2) that
24     remedies available at law, such as monetary damages, are inadequate to
25     compensate for that injury; (3) that, considering the balance of hardships between
26     the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public
27     interest would not be disserved by a permanent injunction.” Monsanto Co. v.
28     Geertson Seed Farms, 561 U.S. 139, 156-57 (2010). Here, Plaintiffs fail on each
                                             23
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 33 of 35 Page ID #:541



 1     prong.
 2           First, Plaintiffs have not alleged an “irreparable injury.” By their own
 3     admission, Plaintiffs’ alleged injury here is one of lost revenue. See ECF No. 1 ¶¶
 4     4, 97 (“revenue declined precipitously”). That is the textbook example of an
 5     alleged harm that fails the irreparable injury standard. See, e.g., Am. Passage
 6     Media Corp. v. Cass Commc’ns., Inc., 750 F.2d 1470, 1473-74 (9th Cir. 1985).
 7           Second, legal remedies (e.g., money damages) are certainly sufficient to
 8     compensate for the alleged harm here. Plaintiffs’ fundamental grievance is that a
 9     set of travel entities lost business—i.e., lost money. See e.g., ECF No. 1 ¶¶ 4, 97.
10     Money damages can adequately compensate Plaintiffs for that alleged harm. See,
11     e.g., Hanna v. Walmart Inc., 5:20-cv-01075-MCS-SHK, 2020 WL 7345680, *6
12     (C.D. Cal. Nov. 4, 2020) (dismissing UCL claim where plaintiff alleged economic
13     loss but did “not explain why no adequate remedy at law exists for that injury”).
14           Third, Plaintiffs have not adequately alleged that the balance of the
15     hardships favors them. Injunctive relief here would amount to a prior restraint on
16     political speech. See ECF No. 1 ¶¶ 105, 113, 121 (seeking injunctive relief
17     “prohibiting Defendants from engaging in the conduct and practices alleged
18     herein”—i.e., alleged communications disparaging Qatar). That is an
19     extraordinary demand, one implicating core First Amendment principles. See, e.g.,
20     Snyder v. Phelps, 562 U.S. 443, 452 (2011) (“[S]peech on public issues occupies
21     the highest rung of the hierarchy of First Amendment values, and is entitled to
22     special protection.”) (quotation marks omitted); see also, e.g., Youngblood v. CVS
23     Pharmacy., No. 2:20-CV-6251 MCS, 2020 WL 8991698, *6 (C.D. Cal. Oct. 15,
24     2020) (dismissing UCL and FAL claims seeking injunctive relief where requested
25     relief “fatally vague”). In comparison, any harm imaginable to Plaintiffs—
26     purveyors of “high end” travel services, ECF No. 1 ¶¶ 17, 18, 39, 101—from any
27     statements that Nader might attempt (from prison, id. ¶ 24) regarding the
28     geopolitics of the Middle East pales to such a degree as to be indiscernible.
                                                24
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 34 of 35 Page ID #:542



 1           And fourth, as to the public interest, again Plaintiffs have not alleged facts
 2     establishing that the public interest favors injunctive relief. Rather, for the reasons
 3     addressed regarding the third factor, and particularly in light of the importance of
 4     spirited political debate in our democracy, the public interest weighs strongly
 5     against Plaintiffs’ proposed injunction.
 6                                        CONCLUSION
 7           For the reasons discussed, the Court should strike Plaintiffs’ complaint and
 8     award the Nader fees and costs under Cal. Civ. Proc. Code § 425.16(c)(1).12
 9     Alternatively, the Court should dismiss the Complaint for lack of standing and
10     failure to state a claim upon which relief can be granted.
11

12     November 1, 2021                        Respectfully submitted,
13

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20
                                               Attorneys for Defendant George Nader
21

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26     12
         In accord with established practice, Nader will file a separate motion for fees and
27     costs if the Court grants the motion to strike. See, e.g., Hyundai Motor Am., Inc. v.
       Yahala Trading Co., No. CV 19-1413 JVS, 2020 WL 2770196 (C.D. Cal. Apr. 1,
28
       2020).
                                                 25
        DEFENDANT GEORGE NADER'S MEMORANDUM IN SUPPORT OF HIS ANTI-SLAPP
                     MOTION TO STRIKE OR MOTION TO DISMISS
     Case 2:21-cv-06320-MCS-JC Document 61 Filed 11/01/21 Page 35 of 35 Page ID #:543



 1                              CERTIFICATE OF SERVICE
 2           I certify that, on November 1, 2021, I electronically filed the foregoing with
 3     the Clerk of the Court using the CM/ECF system, which will send notice to all
 4     counsel of record.
 5

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                                              /s/ John Antoni

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